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10
11                         UNITED STATES DISTRICT COURT
12                  IN THE DISTRICT OF CENTRAL CALIFORNIA
13
     AIMEE AQUITANIA,                        Case No. 2:18-cv-9215
14
                  Plaintiff,                 COMPLAINT AND DEMAND FOR
15                                           JURY TRIAL FOR VIOLATIONS
           v.                                OF:
16
                                             1. Telephone Consumer Protection Act,
17   BANK OF AMERICA, N.A.,                     47 U.S.C. § 227 et seq.;
                                             2. CAL. CIV. CODE § 1788 et seq.; and
18                Defendant.                 3. Intrusion Upon Seclusion
19
20
                   COMPLAINT AND DEMAND FOR JURY TRIAL
21
           COMES NOW Plaintiff, Aimee Aquitania (“Plaintiff”), by and through her
22
     attorneys, alleges the following against Defendant Bank of America N.A.
23
     (“Defendant”):
24
                                   INTRODUCTION
25
     1.    Count I of Plaintiff’s Complaint is based upon the Telephone Consumer
26
     Protection Act (“TCPA”), 47 U.S.C. § 227. The TCPA is a federal statute that
27
     broadly regulates the use of automated telephone equipment. Among other things,
28
     the TCPA prohibits certain unsolicited phone calls or phone calls without the
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 1   consent of the called party, restricts the use of automatic dialers or prerecorded
 2   messages, and delegates rulemaking authority to the Federal Communications
 3   Commission (“FCC”).
 4   2.    Count II of Plaintiff’s Complaint is based upon Rosenthal Fair Debt
 5   Collection Practices Act (“RFDCPA”), CAL. CIV. CODE § 1788 et seq., which
 6   prohibits debt collectors from engaging in abusive, deceptive and unfair practices in
 7   connection with the collection of consumer debts.
 8   3.    Count III of Plaintiff’s Complaint is based upon the Invasion of Privacy -
 9   Intrusion upon Seclusion, as derived from § 652B of the Restatement (Second) of
10   Torts. § 652B prohibits an intentional intrusion, “physically or otherwise, upon the
11   solitude or seclusion of another or his private affairs or concerns… that would be
12   highly offensive to a reasonable person.”
13                            JURISDICTION AND VENUE
14   4.    Jurisdiction of this court arises under 47 U.S.C. § 227 et seq. and 28 U.S.C.
15   § 1331.
16   5.    Venue is proper pursuant to 28 U.S.C. § 1391(b)(3) in that Defendant
17   transacts business here and therefore personal jurisdiction is also established.
18                                        PARTIES
19   6.    Plaintiff is a natural person and a resident in the State of California.
20   7.    Defendant is a financial institution with its principal place of business located
21   at 100 North Tryon Street, Suite 170, Charlotte, North Carolina 28255.
22   8.    Defendant is an entity which, in the ordinary course of business, regularly, on
23   behalf of itself, engages in debt collection. Thus, Defendant is a “debt collector” as
24   defined by the RFDCPA, CAL. CIV. CODE § 1788.2(c).
25   9.    Defendant acted through its agents, employees, officers, members, directors,
26   heirs, successors, assigns, principals, trustees, sureties, subrogees, representatives,
27   and insurers.
28                              FACTUAL ALLEGATIONS

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 1   10.     In or around June 2018, in an attempt to collect on an alleged consumer
 2   account, Defendant began calling Plaintiff on her cellular phone number ending in
 3   6066.
 4   11.     Defendant called from the at least the following phone numbers: (800) 536-
 5   1584, (888) 645-6262, and (916) 605-5054.
 6   12.     Upon information and belief, Defendant owns and operates the phone
 7   numbers.
 8   13.     On or about June 5, 2018, at 1:59 p.m., Plaintiff received a call on her cell
 9   phone from (800) 536-1584. During this eighteen (18) minute conversation, Plaintiff
10   spoke with a representative named John Kestler; at which point Plaintiff
11   unequivocally revoked consent to be contacted any further.
12   14.     Despite revoking consent Plaintiff continued to receive phone calls from
13   Defendant.
14   15.     Between June 5, 2018 and June 28, 2018, Defendant willfully called Plaintiff
15   on her cellular phone approximately thirty (30) times to annoy and harass Plaintiff
16   in the hopes that it could induce Plaintiff to pay the debt.
17   16.     Upon information and belief, each time Plaintiff received a phone call from
18   Defendant there was a brief pause prior to speaking with a representative, indicating
19   the use of an automatic telephone dialing system.
20   17.     Defendant called Plaintiff up to three (3) times a day, further indicating the
21   use of an automatic telephone dialing system.
22   18.     For example, on June 25, 2018, Defendant called at 9:16 a.m., 2:03 p.m., and
23   5:05 p.m.
24   19.     On many occasions, Defendant also left prerecorded or artificial voice
25   messages for Plaintiff without her consent.
26   20.     Plaintiff is currently employed as a nurse and works night shifts.
27   21.     The majority of the calls that Plaintiff received were during the times wen
28   Plaintiff was sleeping.

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 1   22.   Plaintiff would often be disturbed and awoken due to the calls by Defendant.
 2   23.   Due to Defendant’s actions, Plaintiff has suffered emotional distress,
 3   interrupted sleep, and invasion of her privacy.
 4                                        COUNT I
 5                       (Violations of the TCPA, 47 U.S.C. § 227)
 6   24.   Plaintiff incorporates by reference paragraphs one (1) through twenty-three
 7   (23) of this Complaint as though fully stated herein.
 8   25.   Defendant violated the TCPA. Defendant’s violations include, but are not
 9   limited to the following:
10         a.     Within four years prior to the filing of this action, on multiple
11         occasions, Defendant violated TCPA 47 U.S.C. § 227 (b)(1)(A)(iii) which
12         states in pertinent part, “It shall be unlawful for any person within the United
13         States . . . to make any call (other than a call made for emergency purposes or
14         made with the prior express consent of the called party) using any automatic
15         telephone dialing system or an artificial or prerecorded voice — to any
16         telephone number assigned to a . . . cellular telephone service . . . or any
17         service for which the called party is charged for the call.
18         b.     Within four years prior to the filing of this action, on multiple
19         occasions, Defendant willfully and/or knowingly contacted Plaintiff using an
20         artificial prerecorded voice or an automatic telephone dialing system and as
21         such, Defendant knowing and/or willfully violated the TCPA.
22   26.   As a result of Defendant’s violations of 47 U.S.C. § 227, Plaintiff is entitled
23   to an award of five hundred dollars ($500.00) in statutory damages, for each and
24   every violation, pursuant to 47 U.S.C. § 227(b)(3)(B). If the Court finds that
25   Defendant knowingly and/or willfully violated the TCPA, Plaintiff is entitled to an
26   award of one thousand five hundred dollars ($1,500.00), for each and every violation
27   pursuant to 47 U.S.C. § 227(b)(3).
28                                        COUNT II

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 1                       (Violations of CAL. CIV. CODE § 1788 et seq.)
 2   27.   Plaintiff incorporates by reference paragraphs one (1) through twenty-six (26)
 3   of this Complaint as though fully stated herein.
 4   28.   Defendant violated the RFDCPA. Defendant’s violations include, but are not
 5   limited to, the following:
 6         a.     Defendant violated CAL. CIV. CODE § 1788.11(d) by causing a
 7         telephone to ring repeatedly or continuously to annoy the person called;
 8         b.     Defendant violated CAL. CIV. CODE § 1788.17 by collecting or
 9         attempting to collect a consumer debt without complying with the provisions
10         of Sections 1692b to 1692j, inclusive, of . . . Title 15 of the United States Code
11         (Fair Debt Collection Practices Act).
12                i.      Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
13                U.S.C. § 1692d by engaging in conduct, the natural consequence of
14                which is to harass, oppress or abuse any person in connection with the
15                collection of the alleged debt; and
16                ii.     Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
17                U.S.C. § 1692d(5) by causing Plaintiff’s phone to ring or engaging
18                Plaintiff in telephone conversations repeatedly; and
19                iii.    Defendant violated CAL. CIV. CODE § 1788.17 by violating 15
20                U.S.C. § 1692f by using unfair or unconscionable means in connection
21                with the collection of an alleged debt.
22   29.   Defendant’s acts, as described above, were done intentionally with the
23   purpose of coercing Plaintiff to pay the alleged debt.
24   30.   As a result of the foregoing violations of the RFDCPA, Defendant is liable to
25   Plaintiff for actual damages, statutory damages, and attorneys’ fees and costs.
26   31.   Plaintiff is informed and believes such acts directed towards Plaintiff were
27   carried out with a conscious disregard of Plaintiff’s right to be free from such
28   behavior, such as to constitute oppression, fraud or malice pursuant to CAL. CIV.

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 1   CODE § 3294, entitling Plaintiff to punitive damages in the amount appropriate to
 2   punish and set an example of Defendant.
 3                                       COUNT III
 4                               (Intrusion Upon Seclusion)
 5   32.   Plaintiff incorporates by reference paragraphs one (1) through thirty-one (31)
 6   of this Complaint as though fully stated herein.
 7   33.   Restatement of the Law, Second, Torts, § 652(b) defines intrusion upon
 8   seclusion as, “One who intentionally intrudes… upon the solitude or seclusion of
 9   another, or his private affairs or concerns, is subject to liability to the other for
10   invasion of privacy, if the intrusion would be highly offensive to a reasonable
11   person.”
12   34.   Defendant violated Plaintiff’s privacy. Defendant’s violations include, but are
13   not limited to, the following:
14         a.     Defendant intentionally intruded, physically or otherwise, upon
15         Plaintiff’s solitude and seclusion by engaging in harassing phone calls in an
16         attempt to collect on an alleged debt despite numerous requests for the calls
17         to cease.
18         b.     The number and frequency of the telephone calls to Plaintiff by
19         Defendant after several requests for the calls to cease constitute an intrusion
20         on Plaintiff's privacy and solitude.
21         c.     Defendant’s conduct would be highly offensive to a reasonable person
22         as Plaintiff received calls that often interrupted Plaintiff’s work and sleep
23         schedule.
24         d.     Defendant’s acts, as described above, were done intentionally with the
25         purpose of coercing Plaintiff to pay the alleged debt.
26   35.   As a result of Defendant’s violations of Plaintiff’s privacy, Defendant is liable
27   to Plaintiff for actual damages.
28

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 1   36.   Plaintiff is informed and believes such acts directed towards Plaintiff were
 2   carried out with a conscious disregard of Plaintiff’s right to be free from such
 3   behavior, such as to constitute oppression, fraud or malice pursuant to CAL. CIV.
 4   CODE § 3294, entitling Plaintiff to punitive damages in the amount appropriate to
 5   punish and set an example of Defendant.
 6                                PRAYER OF RELIEF
 7         WHEREFORE, Plaintiff Aimee Aquitania, respectfully requests judgment
 8   be entered against Defendant Bank of America, N.A. for the following:
 9   37.   Statutory damages of $500.00 for each and every negligent violation of the
10   TCPA pursuant to 47 U.S.C. § 227 (b)(3)(B);
11   38.   Statutory damages of $1500.00 for each and every knowing and/or willful
12   violation of the TCPA pursuant to 47 U.S.C. § 227(b)(3);
13   39.   Statutory damages of $1,000.00 pursuant to the RFDCPA, CAL. CIV. CODE
14   §1788.30(b);
15   40.   Actual damages pursuant to RFDCPA, CAL. CIV. CODE §1788.30(b);
16   41.   Costs and reasonable attorneys’ fees pursuant to the RFDCPA, CAL. CIV.
17   CODE §1788.30(c);
18   42.   Punitive damages pursuant to CAL. CIV. CODE § 3294.
19   43.   Awarding Plaintiff any pre-judgment and post-judgment interest as may be
20   allowed under the law; and
21   44.   Any other relief that this Honorable Court deems appropriate.
22         Respectfully submitted this 26th day of October 2018.
23
24
                                                  PRICE LAW GROUP, APC
25
26                                                By:/s/ Brian Brazier       .
                                                  Brian Brazier, Esq. (SBN: 245004)
27                                                Attorneys for Plaintiff,
                                                  Aimee Aquitania
28

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